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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA

       Plaintiff

            v.                          CRIMINAL NO. 20-0033 (RAM)

 MUIS LIDINILAH

       Defendant




   INDICATIVE RULING ON DEFENDANT’S MOTION FOR RECONSIDERATION

RAÚL M. ARIAS-MARXUACH, U.S. District Judge

     Defendant Muis Lidinilah’s second interlocutory appeal from

the Court’s September 3, 2020 Order of Detention is currently

pending before the United States Court of Appeals for the First

Circuit. (Docket Nos. 65 and 66). The matter comes before the Court

on defendant Muis Lidinilah’s Motion for Reconsideration and the

Court of Appeals’ October 2, 2020 Order directing the parties to

proceed in accordance with Federal Rule of Criminal Procedure 37.

(Docket Nos. 77 and 79). Based on the new information provided in

the Second Amended Pretrial Services Report, the Court issues an

indicative ruling stating it would reconsider its September 3,

2020 “Order of Detention” (Docket No. 65) and release Defendant

subject to conditions stated below.
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                       I.    PROCEDURAL BACKGROUND

     On January 23, 2020, a Grand Jury indicted defendant Muis

Lidinilah (“Defendant” or “Mr. Lidinilah”) with aggravated sexual

abuse and abusive sexual contact, in violation of 18 U.S.C. 2241

(a)(1) and 18 U.S.C. 2244(a)(1), respectively. (Docket No. 14).

Mr. Lidinilah, as well as the alleged victim, were crew members of

the vessel M/V Carnival Fascination. (Docket No. 1-1). After the

alleged incident of sexual abuse, Defendant was ordered detained

by Magistrate Judge Bruce McGiverin on January 16, 2020. (Docket

No. 29). On April 21, 2020, this Court denied Defendant’s Motion

for Release. (Docket No. 41). Mr. Lidinilah then appealed to the

First Circuit Court of Appeals (“First Circuit”). (Docket No. 45).

     As a result of Mr. Lidinilah’s first interlocutory appeal, on

August 24, 2020, the First Circuit issued a Judgment vacating this

Court’s “order(s) denying release on conditions” and remanding “so

that the district court may evaluate whether Lidinilah poses a

‘serious risk’ under § 3142(f)(2)” and could conduct further bail

proceedings. (Docket No. 56 at 2).

     On September 3, 2020, this Court held a detention hearing

pursuant to 18 U.S.C. § 3142(f)(2) upon a finding that Defendant

posed a serious risk of flight. (Docket No. 64). At the hearing,

the parties proceeded by proffer. Id. The Court ordered that

Defendant remain detained. (Docket No. 65 at 3).
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     At the September 3, 2020 detention hearing the United States

Probation Office (“USPO”) officer indicated that Guara Bi, a

residential center, i.e. halfway house, would not accept Mr.

Lidinilah if he was subject to electronic monitoring. (Docket No.

65; 74 at 10-11). In a colloquy with Defendant’s counsel, the

undersigned left open the possibility of release subject to finding

a place where Defendant would be subject to electronic monitoring

and other conditions. Id. at 26.

     In response to the September 3, 2020 “Order of Detention,”

Defendant initiated his second interlocutory appeal on September

8, 2020. (Docket Nos. 65-66). Further, on September 28, 2020, Mr.

Lidinilah filed the Motion for Reconsideration of Detention Order

(“Motion   for   Reconsideration”)    currently   pending    before    this

Court. (Docket No. 77). By Order dated September 29, 2020 and

entered on the docket of this case on October 2, 2020, the First

Circuit ordered:

           The briefing schedule entered by this court on
           September 24, 2020, is VACATED, and the appeal
           is STAYED, pending further order. To the
           extent applicable, the parties and the
           district court should proceed in accordance
           with Federal Rule of Criminal Procedure 37.

(Docket 79) (emphasis in original).

     In his September 28th Motion for Reconsideration, Defendant

stated that Guara Bi will accept him with electronic monitoring.

(Docket No. 77 at 1-2). He also offered a package of conditions in
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lieu of electronic monitoring which he did not offer when prompted

at the September 3, 2020 detention hearing. (Docket Nos. 64; 77 at

3). Lastly, he offered to be interviewed by the USPO so that his

background information could be verified, after having previously

refused a Pre-Trial Services interview. (Docket Nos. 64; 77 at 7).

     On October 15, 2020, the Government filed an Opposition to

Motion for Reconsideration of Detention Order            (“Opposition”).

(Docket No. 82). In a nutshell, the Government contends that Mr.

Lidinilah should remain detained pending trial “because of the

serious nature of the offense charged against Mr. Lidnilah, the

significant evidence against him, and the lack of family, community

or professional ties to Puerto Rico.” Id. at 1. The Opposition

submitted   a   statement   taken   from   Mr.   Lidinilah   in   which   he

describes the incident and admits “he did something wrong[.]” Id.

at 2. It also submitted the Federal Bureau of Investigation’s

(“FBI”) report of its interview of Defendant describing the alleged

incident which led to the charges levied against Defendant. (Docket

82-2). Defendant replied to the Government’s Opposition on October

19, 2020. (Docket No. 87).

     Per the briefing on Defendant’s Motion for Reconsideration,

on October 20, 2020 the Court issued an order to the USPO to: (1)

“conduct a Pre-trial Services Interview of Defendant” and (2)

“verify whether GuaraBi can in fact house the Defendant subject to

electronic (GPS) monitoring[.]” (Docket No. 88).
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       On October 26, 2020, the USPO submitted an amended Pretrial

Services Report which confirmed that Mr. Lidinilah has no ties to

Puerto Rico or the rest of the United States. (Docket No. 89 at

2). It also confirmed the assertion that Guara Bi would house him

even if he was subject to electronic monitoring. Id. at 3-4.

       On October 27, 2020, Defendant filed a Motion in Response in

Opposition to Amended Pre-Trial Services Report taking issue with

the Amended Pretrial Services Report. (Docket No. 91). Lastly, on

November 3, 2020, the Probation officer filed a Second Amended

Pretrial Services Report. (Docket No. 95).

                                 II.    APPLICABLE LAW

     A. Standard on Motions for Reconsideration:

       The Federal Rules of Criminal Procedure fail to “explicitly

provide     for   motions      for     reconsideration.”       United      States    v.

Montijo–Maysonet, 299 F.Supp.3d 366, 367 (D.P.R. 2018); see also

United States v. Ortiz, 741 F.3d 288, 292 n. 2 (1st Cir. 2014)

(“[M]otions       for    reconsideration         in    criminal    cases    are     not

specifically authorized either by statute or by rule.”) Instead,

the First Circuit applies the standard for motions under Rule 59(e)

of    the   Federal      Rules    of     Civil    Procedure       to   motions      for

reconsideration         in   criminal    cases.       See   Montijo-Maysonet,       299

F.Supp. 3d at 367; United States v. Allen, 573 F.3d 42, 53 (1st

Cir. 2009) (applying Rule 59(e) to a motion for reconsideration in

a criminal case).
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     A    motion   which   asks   “the      court   to   modify   its    earlier

disposition of a case because of an allegedly erroneous legal

result is brought under Fed. R. Civ. P. 59(e).” Marie v. Allied

Home Mortg. Corp., 402 F.3d 1, 7 (1st Cir. 2005). The First Circuit

considers a reconsideration “an extraordinary remedy which should

be used sparingly.” U.S. ex rel. Ge v. Takeda Pharm. Co., 737 F.3d

116, 127 (1st Cir. 2013) (internal quotation omitted) (emphasis

added). Hence, a court may grant one only if there is a “manifest

error of law, [...] newly discovered evidence, or in certain other

narrow situations [such as a change in controlling law].” United

States v. Peña-Fernández, 394 F.Supp.3d 205, 207 (D.P.R. 2019)

(quotation    omitted).     “When     the    motion      simply   regurgitates

contentions that were previously made and rejected, the movant has

no legal basis to insist upon reconsideration.” Liu v. Mukasey,

553 F.3d 37, 39 (1st Cir. 2009) (emphasis added).

  B. The Bail Reform Act:

     Pursuant to the Bail Reform Act of 1984 (the “Act”), a

judicial officer must determine whether a person charged with an

offense    shall    be     detained    or     released     pending      judicial

proceedings. See 18 U.S.C. § 3141(a). Section 3142(e) of the Act

further provides that ultimately, if after conducting a hearing in

accordance with 18 U.S.C. § 3142(f), “the judicial officer finds

that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of
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any other person and the community, he shall order the detention

of the person prior to trial.” 18 U.S.C. § 3142(e)(1).

     Section 3142(f) of the Act establishes the instances in which

an accused individual is eligible for detention and therefore, a

detention hearing is proper. See 18 U.S.C. § 3142(f). Specifically,

Section 3142(f)(1)(a) of the Act requires that the judicial officer

hold a detention hearing upon motion of the attorney for the

Government in cases which involve “a crime of violence, a violation

of section 1591, or an offense listed in section 2332b(g)(5)(B)

for which a maximum term of imprisonment of 10 years or more is

prescribed.”        18   U.S.C.     §    3142(f)(1)(a).         Likewise,      Section

3142(f)(2) authorizes the court to hold a detention hearing upon

government motion or sua sponte in cases that involve “a serious

risk that such person will flee” or “a serious risk that such

person will obstruct or attempt to obstruct justice, or threaten,

injure,    or   intimidate,       or    attempt      to    threaten,       injure,   or

intimidate,     a    prospective        witness    or      juror.”    18    U.S.C.    §

3142(f)(2).     The      standard       of   proof      for    detention      due    to

dangerousness is clear and convincing evidence. Id. In turn, the

standard   of   proof      for    detention       due     to   risk   of    flight   is

preponderance of the evidence. See United States v. Patriarca, 948

F.2d 789, 793 (1st Cir. 1991).

     When determining whether there are conditions of release to

ensure the defendant’s appearance and the safety of the community,
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judicial   officers   must   take   into   consideration   the   following

factors: (1) the nature and circumstances of the offense charged;

(2) the weight of the evidence against the defendant; (3) the

defendant’s personal history and characteristics; and (4) the

nature and seriousness of the danger to any person or the community

that would be posed by the defendant’s release. See 18 U.S.C. §

3142(g).

                              III. DISCUSSION

     Several Section 3142(g) factors weigh in favor of detention:

the nature and circumstances of the offense charged, the weight of

the evidence and Mr. Lidinilah’s history and characteristics.

However, the Court finds that the new information provided by the

Second Amended Bail Report affirming that Guara Bi will house

defendant subject to electronic monitoring means the Government

has not met its evidentiary burden of proving that that there “is

no condition or set of conditions” to ensure Mr. Lidinilah’s

appearance as required. 18 U.S.C. § 3142(e).

     A. The nature and circumstances of the offense charged

     According to the FBI’s report of its interview with Mr.

Lidinilah, the alleged sexual abuse occurred after a crew member

party aboard the vessel M/V Carnival Fascination on December 26,

2019. (Docket 82-2 at 1). Mr. Lidinilah was drinking and saw the

alleged victim dancing around 1:00 a.m. Id. He talked and smoked

a cigarette with her and offered to escort her back to her room.
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Id. He followed her into the room, kissed her, grabbed her breasts

and inserted his finger into her vagina. Id. She told him to stop

or she would scream. Id. He left her room and continued drinking.

Id. at 1-2. The next day she reported he raped her. Id. at 2.

      For these alleged acts, Mr. Lidinilah is charged with a

violation of 18 U.S.C. § 2241(a) (aggravated sexual abuse). (Docket

No. 1). If convicted, this offense carries a maximum statutory

term of incarceration of life. See 18 U.S.C. § 2241(a). The Court

can   base   its   decisions   to   release   or   detain   on   the   maximum

statutory penalty. See United States v. Moss, 887 F.3d 333, 336-

337 (1st Cir. 1989). But the specter of a stiff sentence still

looms even under the advisory United States Sentencing Guidelines.

Pursuant to United States Sentencing Guidelines’ Section 2A3.1, a

violation of § 2241(a) carries a base offense level of 30. See

U.S.S.G. 2A3.1. The base level then increases by 4 points if the

offense involved conduct under 18 U.S.C. § 2241(a), such as the

one alleged here. Id. § 2241(b)(1). Assuming a Criminal History

Category of I given that no evidence of prior criminal arrests has

been proffered to the Court, the Guideline Sentencing Range for

the charged offense is between 151 and 188 months.

      B. The weight of the evidence against Defendant

      The weight of the evidence against Defendant is strong. The

Government has produced a statement taken from Mr. Lidinilah by a

Carnival Security Officer and the FBI’s report of its interview
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with Mr. Lidinilah. (Docket Nos. 82-1 and 82). The statements

coincide on the essential facts regarding the alleged incident of

sexual abuse. Id. As noted earlier, Mr. Lidinilah is facing a stiff

sentence if convicted. Notably, “numerous courts have recognized

that the seriousness of the charge and the weight of the evidence

can create a strong incentive for a defendant's flight.” United

States v. Pimentel-Ramirez, 2019 WL 6879332, at * 3 (D.P.R. 2019)

(quoting United States v. Rodriguez-Adorno, 606 F. Supp. 2d 232,

236 (D.P.R. 2009) (citation omitted)).

     C. The History and Characteristics of the Defendant.

     Mr. Lidinilah is a twenty-seven year-old Indonesian national.

(Docket No. 95 at 2). He reportedly possesses a degree in Marine

Engine Mechanics and was employed as waiter aboard the vessel M/V

Carnival Fascination at the time of his arrest. Id. No evidence

has been presented of prior arrests or convictions. Id. at 3.

     At the detention hearing, and in his bid to establish that

conditions can be imposed to provide for his release, Defendant

pointed out that he does not speak Spanish. (Docket No. 74 at 14,

17). While Spanish may be the predominant language of daily life

in Puerto Rico, Mr. Lidinilah is fluent in English as a second

language and English is also spoken in Puerto Rico. Id. at 7. Thus,

Mr. Lidinilah’s inability to speak Spanish, standing alone, is not

a factor weighing against detention.
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     Defendant also points out that he does not have any money to

pay or arrange for transportation which will “make any attempt to

flee extremely difficult.” (Docket No. 77 at 3). This is a factor

that should not weigh in favor or against detention. While his

lack of financial resources may hinder his ability to flee, it

also means Mr. Lidinilah has nothing to lose financially by leaving

the United States. See United States v. Lamp, 606 F.Supp. 193, 201

(W.D. Tex. 1985) (holding the same); Cf. United States v. Gomez-

Encarnacion, 2015 WL 1647173, at *4 (D.P.R. 2015)(holding that the

history     and    characteristics    factor     weighed     heavily    against

defendant in part because he had access to large sums of money).

     Turning to Mr. Lidinilah’s alienage, standing alone, it is

not inherently probative of a serious risk of flight nor is it a

factor that “tip[s] the balance either for or against detention.”

Pimentel-Ramirez, 2019 WL 6879332, at *3 (quoting United States v.

Motamedi,    767    F.2d   1403,   1408   (9th   Cir.   1985)).   Rather      the

fundamental question is what ties Mr. Lidinilah has with the United

States in general and with Puerto Rico in particular. When tasked

with assessing an alien defendant's ties to the United States,

courts    should    consider   the   following    factors:    “how     long   the

defendant has resided in this country, whether defendant has been

employed in the United States, whether defendant owns any property

in this country, and whether defendant has any relatives who are
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United States residents or citizens.” Id. (quoting United States

v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990).

      Simply put, Mr. Lidinilah has no ties to Puerto Rico or the

rest of the United States. According to the Second Amended Pretrial

Services Report which was rendered with the benefit on an interview

by Mr. Lidinilah, he has never resided in the United States and

has no family or property in the United States. (Docket No. 95 at

2). His parents, wife and child are in Indonesia. Id. Thus, the

lack of ties to the District and substantial sentence he faces if

convicted provide a strong incentive to flee. See United States v.

Smiley, 2019 WL 65299395, at *4 (D.P.R. 2019) (finding that

defendant’s lack of ties to Puerto Rico given that he was a

lifelong resident of Texas and admitted to no personal, community

of   financial   ties   to   Puerto   Rico,   coupled   with   a   five-year

sentence, made him a risk of flight thus detention was proper);

see also, U.S. v. Pierce, 107 F.Supp. 2d 126, 133 (D. Mass. 2000).

      D. Whether there is a set of conditions that will reasonably
         assure the appearance of the person as required.

      Indubitably Mr. Lidinilah stands accused of serious crimes,

is exposed to a lengthy prison sentence, and the evidence against

him is strong. However, the Court is not concerned with Defendant’s

guilt or innocence at this stage. Section 18 U.S.C. 3142(j) clearly

states that “[n]othing in this section shall be construed as

modifying or limiting the presumption of innocence.” See also,
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Gomez-Encarnacion, 2015 WL 1647173, at *1 n.1 (explaining that

during   bail      review,      “[t]he        Court    remains   cognizant        that

[defendant] enjoys the presumption of innocence at this stage of

the proceedings.”) Instead, the Court must assess whether there is

a set of conditions that “will reasonably assure the appearance of

the person as required.” 18 U.S.C. § 3142(c).

      To determine whether conditions of release could be imposed,

the Court has also considered that Mr. Lidinilah does not stand

accused of belonging to a drug trafficking conspiracy, a human

smuggling    ring,        or   some    other     criminal    organization         with

international connections that could aid his escape. Cf. Gomez-

Encarnacion, 2015 WL 1647173, at *5 (finding that defendant posed

a significant risk of flight and should remain detained because

not   only   did     he    “have      means    and    motivation     to    flee   the

jurisdiction, but his direct ties to the upper members of the

conspiracy and his managerial role within the [drug] organization

poses a significant threat to the community.”); United States v.

Orta-Castro, 104 F. Supp. 3d 190, 195 (D.P.R. 2015) (holding that

defendant should remain detained given that “persons who have

strong ties to drugs potential to launder large quantities of cash

proceeds from drug trafficking, and strong with ties with foreign

contacts,    as    Defendant          does,    raise    a   strong        presumption

of flight risk.”)
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        At the detention hearing, the undersigned indicated being

open to reconsidering the “Order of Detention” if a place could be

found    where   Defendant    could     be    housed   subject    to   electronic

monitoring.      (Docket   Nos.   64;    74    at   26).   In   the    Motion   for

Reconsideration, Mr. Lidinilah pointed out that Guara Bi could

admit him with electronic monitoring. (Docket No. 77 at 1-3). The

Second Amended Probation Report affirms that Guara Bi will accept

Defendant with electronic monitoring but it will further limit his

ability to move within the residential center’s compound because

of issues with cellular signal coverage. (Docket No. 95 at 4). The

report also indicates that cellular signal coverage can trigger

false    alarms.   Id.     However,     the   report   does     not    state    that

electronic monitoring would be useless except insofar as it would

limit Defendant’s ability to partake in the services and activities

within the Guara Bi center. The Court does not view that limitation

as an obstacle to releasing Defendant at this time.

        Based on the new information provided by the Second Amended

Pretrial Services Report, the Court would reconsider its September

3, 2020 “Order of Detention” (Docket No. 65) and release Defendant

under the following conditions:

        (a)   Defendant shall be placed in home detention at Guara Bi;

        (b)   Defendant shall surrender his passport and any other

              travel documents and valuables to the USPO;
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     (c)   Defendant cannot leave Guara Bi without the Probation

           Officer’s permission;

     (d)   Defendant shall refrain from the use of alcohol;

     (e)   Defendant shall check in with the Probation Officer as

           required by the latter;

     (f)   All other standard conditions of pretrial release.

                               IV. CONCLUSION

     Based on the foregoing, the Court issues an indicative ruling

that it would GRANT the Motion for Reconsideration (Docket No. 77)

if it had jurisdiction and would release Defendant subject to the

aforementioned conditions.

     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 6th day of November 2020.

                                         S/ RAÚL M. ARIAS-MARXUACH
                                        United States District Judge
